Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 1 of 19 PageID #: 1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK



                                                   Complaint for Employment
                                                   Discrimination


(Write thefull name ofeach plaintiffwho isfiling                    p.p.-34.10
this complaint. Ifthe names ofall the plaintiffs   (to befilled in by the Clerk's Office)
cannotfit in the space above, please write "see
attached" in the space and attach an additional    Jury Trial:    □ Yes      □ No
page with thefull list ofnames.)                                  (check one)
                                                                  DONNELLY, J.
   -against-

 fndap                   A/V Pn?shui-e/-f(yi(X,.',aA/\ POLLAK, M.J
 ,/Vy/i kin Pdf&lc h
  DnnieJ '^kuf&KI
(Write the full name ofeach defendant who is
being sued. If the names ofall the defendants
                                                                  1© 1D W
cannotfit in the space above, please write see
attached" in the space and attach an additional                        JUN 0 7 2022
page with the full list of names.)
                                                                   =10 SE OFFICE
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 2 of 19 PageID #: 2




I.   The Parties to This Complaint

     A.    The PIaintiff(s)

           Provide the information below for each plaintiff named in the complaint. Attach
           additional pages if needed.

                   Name                                  f\h£fmlA
                   Street Address                                       pi
                   City and County
                   State and Zip Code
                   Telephone Number
                   E-mail Address


     6.     The Defendant(s)

            Provide the information below for each defendant named in the complaint,
            whether the defendant is an individual, a government agency, an organization, or
            a corporation. For an individual defendant,include the person's job or title (if
            known). Attach additional pages if needed.

            Defendant No. 1

                   Name                                           Xna
                   Job or Title
                   (if known)
                   Street Address

                   City and County
                   State and Zip Code
                   Telephone Number
                   E-mail Address
                   (if known)

            Defendant No.2

                    Name                      I)GnfgV
                    Job or Title                   TYlMJrcL/l
                   (if known)
                    Street Address                          I j/}
                    City and County
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 3 of 19 PageID #: 3




                   State and Zip Code
                   Telephone Number
                   E-mail Address
                   (if known)

     C.     Place of Employment

            The address at which I sought employment or was employed by the defendant(s)
            is:


                   Name

                   street Address                                         mP/TJO/l^f/A/P^
                   City and County              P^IUS>Il4
                   State and Zip Code
                   Telephone Number          ^                         l5
n.   Basis for Jurisdiction

     This action is brought for discrimination in employment pursuant to (check all that
     apply):

           ^ Title Vn ofthe Civil Rights Act of 1964,as codified,42 U.S.C. §§ 2000e
                    to 2000e-17(race, color, gender, religion, national origin).
                   (Note: In order to bring suit infederal district court under Title VII, you
                   mustfirst obtain a Notice ofRight to Sue letterfrom the Equal
                    Employment Opportunity Commission.)

               □    Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
                    §§ 621 to 634.

                    (Note: In order to bring suit infederal district court under the Age
                    Discrimination in Employment Act, you must firstfile a charge with the
                    Equal Employment Opportunity Commission.)

               □    Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112
                    to 12117.

                    (Note: In order to bring suit infederal district court under the Americans
                     with Disabilities Act, you mustfirst obtain a Notice ofRight to Sue letter
                    from the Equal Employment Opportunity Commission.)
     Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 4 of 19 PageID #: 4




                  □       Other federal law (specify the federal law):


                  □       Relevant state law (specify, if known):


                  □       Relevant city or county law (specify, if known):


     ni.   Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as
           briefly as possible the facts showing that each plaintiff is entitled to the damages or other
           relief sought. State how each defendant was involved and what each defendant did that
           caused the plaintiff harm or violated the plaintifif s ri^ts, including the dates and places
           of that involvement or conduct. If more than one claim is asserted, number each claim
           and write a short and plain statement of each claim in a separate paragraph. Attach
           additional pages if needed.

           A.      The discriniinatory conduct of whichIcomplain in this action includes (check all
                   that apply):

                          □       Failure to hire me.
                                  Termination of my employment.
                          □       Failure to promote me.
                           □      Failure to accommodate my disability.
                           ^ Unequal terms and conditions of my emplo5mient.
                           M      Retaliation.
                                  R(

                                   Other
                                   o       acts (specify):

                           (Note: Only those grounds raised in the charge filed with the Equal
                           Employment Opportunity Commission can be considered by the federal
                           district court under the federal employment discrimination statutes.)

           g     ;It is my best recollection that the alleged discnnunatory acts occurred on date(s)
           r                      JdlQ:' :rune.£'0^O
                   flrti A630- mrcr: oixjcL!
-r                 rc.VAU.lkA hci mw (fUKrvJ
                                                               /y\r^3hcpila
        Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 5 of 19 PageID #: 5




                  I believe that defendant(s)(check one):

                                 is/are still committing these acts against me.
                          □      is/are not still committing these acts against me.

             D.    Defendant(s) discriminated against me based on my (check all that apply and
                   explain):         ^                                  ^
                                                         m,i0h mjTd fhcn

                          □       gender/sex
                          □      religion
                           □     national origin
                           □      age. My year of birth is                . (Give your year of birth
                                  only ifyou are asserting a claim of age discrimination.)
                           □      disability or perceived disability (specify disability)


                   The facts of my case are as follows. Attach additional pages if needed.
                                         '/ ^01^.                  T /^S                               /ny
                                                        l?rv)hr). P^yfr>:kLh-^mc^_

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         • X           (MtbKiv
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                            As additional                                Video,
                                          supportfor the facts ofyour claim,           /nc-to this
                                                                             you may attach
                    complaint a copy ofyour charge filed with the Equal Employment Opportunity
                    Commission, or the charge filed with the relevant state or city human rights
                    division.)

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r   /     . /      L                                              -fo                          -fv OjQJ'
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 6 of 19 PageID #: 6




IV.   Exhaustion of Federal Administrative Remedies

      A.       It is my best recollection that I filed a charge with the Equal Employment
               Opportunity Commission or my Equal Employment Opportumty counselor
               regarding the defendant's alleged discriminatory conduct on (date)
               flfn loidl^ -                                    idjp^
      B.       The Equal Employment Opportunity Commission(oheck one):
                      □       has not issued a Notice of Right to Sue letter.
                      n/ issued a Notice of Right to Sue letter, which 1received on (date)
                      ^           npf,! M,
                              (Note: Attach a copy of the Notice ofRight to Sue letter from the
                              Equal Employment Opportunity Commission to this complaint.)

      C.       Only litigants alleging age discrimination must answer this question.
               Since filing my charge of age discrimination with the Equal Employment
               Opportunity Commission regarding the defendant's alleged discriminatory
               conduct (check one):

                       □      60 days or more have elapsed.
                       □      less than 60 days have elapsed.

V.    Relief

      State briefly and precisely what damages or other relief the plaintiff asks the court to
      order. Do not make legal arguments. Include any basis for claiming that the wrongs
      alleged are continuing at the present time. Include the amounts of any actual damages
      claimed for the acts alleged and the basis for these amounts. Include any punitive or
       exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
       actual or punitive money damages.                                                    ^
           Ipnivmq-eA                               jh
                                                          —dhr/Y) t/pt/
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 7 of 19 PageID #: 7




VI.   Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
      knowledge, information, and beliefthat this complaint:(1)is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
      cost oflitigation;(2)is supported by existing law or by a nonfrivolous argument for
      extending, modifying, or reversing existing law;(3)the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity for further investigation or discovery; and (4)the
      complaint otherwise complies with the requirements of Rule 11.

      A.     For Parties Without an Attorney

             I agree to provide the Clerk's Office with any changes to my address where case-
              related papers may be served. I understand that my failure to keep a current
              address on file with the.^rk's Office may result in the dismissal of my case.
              Date of signing: h j '
              Signature of Plaintiff
              Printed Name of Plaintiff
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 8 of 19 PageID #: 8


        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                          New York District Office
                                                                                          33 Whitehall St,5th Floor
                                                                                              New York, NY 10004
                                                                                                   (929)506-5270
                                                                                           Website: www.ccoc.aov



                  DETERMINATION AND NOTICE OF RIGHTS
                      (This Notice replaces EEOC FORMS 161 & 161-A)

                                      Issued On: 04/29/2022
To: Mr. Barry W.Fitzgerald
    21 Saint James PI
    BROOKLYN, NY 11205                                                          Charge No: 531-2021-03146

EEOC Representative:                 D. Young
                                     Investigator



                               DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations ofthe statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

                             NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days.(The time limit for filing a lawsuit
based on a claim under state law may be different.)
If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
court complaint to charge 531-2021-03146.

                                              On behalf ofthe Commission,

                                              Digitally Signed By:Judy Keenan
                                              04/29/2022
                                              Judy Keenan
                                              District Director
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 9 of 19 PageID #: 9


Cc:
Kimberly Hansen
Sodexo,Inc.
kim.hansen@sodexo.com



Please retain this notice for your records.
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 10 of 19 PageID #: 10


         U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                           New York District Ofllce
                                                                                           33 Whitehall St, 5th Floor
                                                                                               New York, NY 10004
                                                                                                    (929)506-5270
                                                                                            Website: www.ccoc.udv



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 To: Mr. Barry W.Fitzgerald
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     BROOKLYN,NY 11205                                                           Charge No: 531-2021-03146

 EEOC Representative:                 D. Young
                                      Investigator



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 court complaint to charge 531-2021-03146.

                                                On behalf of the Commission,

                                               Digitally Signed By:Judy Keenan
                                               04/29/2022
                                               Judy Keenan
                                               District Director
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 11 of 19 PageID #: 11


 Cc:
 Kimberly Hansen
 Sodexo,Inc.
 kim.hansen@sodexo.com



 Please retain this notice for your records.
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 12 of 19 PageID #: 12


         U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                           New York District Office
                                                                                           33 Whitehall St, 5th Floor
                                                                                               New York, NY 10004
                                                                                                    (929)506-5270
                                                                                            Website: www.eeoc.uov


                   DETERMINATION AND NOTICE OF RIGHTS
                        (This Notice replaces EEOC FORMS 161 & 161-A)

                                       Issued On: 04/29/2022
 To: Mr. Barry W. Fitzgerald
     21 Saint James PI
     BROOKLYN,NY 11205                                                           Charge No: 531-2021-03146

 EEOC Representative:                 D. Young
                                      Investigator



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                                               04/29/2022
                                               Judy Keenan
                                               District Director
Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 13 of 19 PageID #: 13

 Cc:
 Kimberly Hansen
 Sodexo,Inc.
 kim.hansen@sodexo.com



 Please retain this notice for your records.
        Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 14 of 19 PageID #: 14
EEOC Form 5(11/09)


                  Charge of Discrimination                                                 Charge Presented To:
       This form Is affected by the Privacy Act of 1974. See enclosed Privacy Act
             Statement and other Information before completing this form.
                                                                                              1 1 FEPA
                                                                                              1^ EEOC                         531-2021-03146
                                    NEW YORK STATE DIVISION OF HUMAN RIGHTS                                                            and EEOC
                                                               state or localAgency, ifany
Name (indicate Mr.. Ms.. Mrs.)                                                                              Home Phone               Year of Birth

MR. BARRY W FITZGERALD                                                                                   917-683-9181                 1985
street Address                                                         City, State and ZIP Code

21 SAINT JAMES PL, BROOKLYN,NY 11205

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That 1 Believe Discriminated Against Me or Others. {Ifmore than two, list underPARTICULARS below.)
Name                                                                                                No. Employees, Members         Phone No.

SODEXO INC, NEW YORK PRESBYTERIAN QUEENS DR.
                                                                                                          Unknown             (877)729-7369
SKUPSKI
street Address                                                         City. State and ZIP Code

9801 WASHINGTONIAN BLVD, GAITHERSBURG, MD 20878

Name                                                                                                No. Employees, Members         Phone No.




Street Address                                                         City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box{es).)                                                        DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                   Earliest             Latest

 \ X 1 RACE 1 1 COLOR [ |          SEX |   |    RELIGION||
                                                         X NATIONAL ORIGIN                                  01-01-2019            03-29-2021
    1 X 1 RETALIATION |  |     AGE | | DISABILITY |     |GENETIC INFORMATION
           1 1 OTHER (Specify)                                                                                     1    1 CONTINUING ACTION
THE PARTICULARS ARE (ifadditionalpaper is needed, attach extra sheet(s)):




1 want this charge filed with both the EEOC and the State or local Agency,          NOTARY - When necessary forState and LocalAgency Requirements
if any. 1 will advise the agencies if l change my address or phone number
and 1 will cooperate fully with them In the processing of my charge In
accordance with their procedures.                                                   1 swear or affirm that 1 have read the above charge and that It
1 declare under penalty of perjury that the above Is true and correct.              Is true to the best of my knowledge, information and belief.
                                                                                    SIGNATURE OF COMPLAINANT



     Digitally signed by Barry W Fitzgerald on 09-09-                               SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                          2021 03:33 PM EOT                                         {month, day, year)
       Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 15 of 19 PageID #: 15
EEOC Form 5(11/09)

                                                                                                                      Agency(ies) Charge
                 Charge of Discrimination                                                 Charge Presented To:
                                                                                                                      Ng(s):
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                                                                                             I I FEPA
                                                                                             1^ EEOC                   531-2021-03146

                                   NEW YORK STATE DIVISION OF HUMAN RIGHTS                                                           and EEOC
                                                              state orlocalAgency, ifany
I worked for the above-named company since May 2018 as a valet driver until I was
threatened on June 4, 2020 when Dr. Daniel Skupski(White) made a hand gesture with his
finger like a gun at me. I complained about the Drs threat, which fell on George Fioyds
funeral, and nothing was done. There was also an incident in 2019, in which my Indian
Supervisor, Bankim Parekh elbowed me in the stomach which was reported but nothing was
done by upper management. From about June and until 1 was terminated in March 2021, 1
was treated differently because of my race (Black) and national origin (African - American)
when not given overtime like other workers, including Nascio (Dominican) and Mr. Singh
(who shares my supervisors ethnicity), i complained about overtime and continued to
 complain about the Drs threat along with other events of discrimination. I did good deeds,
 such that i was placed on my former employers twitter site, as a model employee, yet i was
 terminated for no good reason. I was not asked to come in early two hours to cover Ariierda
 Pichardo (Hispanic). As an example, in January 2021 George ?(Hispanic) crashed a iadys car
 and is still employed, while 1 was let go for asking for ask for a copy of a video. In February
 2021, Wiiiare Armstrong (Black)struck a pedestrian running them over and he was not
 terminated. Other employees had accidents and did other things which did not result in
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 of my ethnicity and race. When i asked for a copy of the video footage of the dr. threatening
 me, i was wrongfully suspended on March 19, 2021 pending an investigation. Later, I was
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 rights as described above, ail in violation of Title VII of the Civil Rights Act of 1964, as
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                         2021 03:33 PM EDT                                         [month, day. year)
        Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 16 of 19 PageID #: 16
EEOC Form 5(11/09)


                  Charge of Discrimination                                                 Charge Presented To:
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                                                                                              1 1 FEPA
                                                                                                    EEOC                      531-2021-03146

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Name                                                                                                No. Employees, Members         Phone No.




Street Address                                                         City, State and ZIP Code




DISCRIMiNATiON BASED ON (Check appropriate box(es).)                                                        DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                   Earliest             Latest

 1 X 1 race I 1 COLOR   1 1 SEX |   |    RELIGION|X|NATIONAL ORIGIN                                         01-01-2019            03-29-2021
    1 X 1 RETALIATION ||AGE| |  DISABILITY | [ GENETIC INFORMATION
              1      1 OJWER (Specify)                                                                             1    1 CONTINUING ACTION
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                           2021 03:33 PM EOT                                        {month, day, year)
       Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 17 of 19 PageID #: 17
EEOC Form 5(11/09)

                                                                                                                       Agency(ies) Charge
                 Charge of Discrimination                                                 Charge Presented To:
                                                                                                                       No(s):
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                                                                                             I I FEPA
                                                                                             1^ EEOC                    531-2021-03146

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                                                                                   SIGNATURE OF COMPLAINANT



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                         2021 03:33 PM EOT                                         {month, day. year)
        Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 18 of 19 PageID #: 18
EEOC Form S (11/09)


                  Charge of Discrimination                                                 Charge Presented To:
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                                                                                              1 1 FEPA
                                                                                              1^ EEOC                         531-2021-03146
                                     NEW YORK STATE DIVISION OF HUMAN RIGHTS                                                           and EEOC
                                                               state or localAgency, ifany
Name (indicate Mr.. Ms., Mrs.)                                                                              Home Phone               Year of Birth

MR. BARRY W FITZGERALD                                                                                   917-683-9181                 1985
street Address                                                         City, State and ZIP Code

21 SAINT JAMES PL, BROOKLYN,NY 11205

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That 1 Believe Discriminated Against Me or Others. {Ifmore than two. list underPARTICULARS below.)
Name                                                                                                No. Employees, Members         Phone No.

SODEXO INC, NEW YORK PRESBYTERIAN QUEENS DR.                                                              Unknown             (877) 729-7369
SKUPSKI
street Address                                                         City, State and ZIP Code

9801 WASHINGTONIAN BLVD, GAITHERSBURG, MD 20878

Name                                                                                                No. Employees, Members         Phone No.




Street Address                                                         City. State and ZIP Code




DISCRIMINATION B/\SED ON (Check appropriate box(es).)                                                       DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                   Earliest             Latest

 1 X 1 RACE 1 1 COLOR   1 1 SEX |   |    RELIGION |X|NATIONAL ORIGIN                                        01-01-2019            03-29-2021
    1 X 1 RETALIATION ||AGE| |  DISABILITY |      |GENETIC INFORMATION
              1       1 OTHER (Specify)                                                                            1    1 CONTINUING ACTION
THE PARTICULARS ARE (ifadditionalpaper is needed, attach extra sheet(s)):




1 want this charge filed with both the EEOC and the State or local Agency,          NOTARY - When necessary for State and LocalAgency Requirements
if any. 1 will advise the agencies If 1 change my address or phone number
and 1 will cooperate fully with them in the processing of my charge In
accordance with their procedures.                                                   1 swear or affirm that 1 have read the above charge and that it
1 declare under penalty of perjury that the above is true and correct.              is true to the best of my knowledge, information and belief.
                                                                                    SIGNATURE OF COMPLAINANT



     Digitally signed by Barry W Fitzgerald on 09-09-                               SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                            2021 03:33 PM EOT                                       {month, day, year)
       Case 1:22-cv-03410-AMD-CLP Document 1 Filed 06/07/22 Page 19 of 19 PageID #: 19
EEOC Form 5(11/09)


                 Charge of Discrimination                                                 Charge Presented To:
      This form Is affected by the Privacy Act of 1974. See enclosed Privacy Act
            Statement and other Information before completing this form.
                                                                                             1 1 FEPA
                                                                                             Q EEOC                    531-2021-03146
                                   NEW YORK STATE DIVISION OF HUMAN RIGHTS                                                           and EEOC
                                                              state orlocalAgency, ifany
I worked for the above-named company since May 2018 as a valet driver until i was
threatened on June 4, 2020 when Dr. Daniel SkupskI (White) made a hand gesture with his
finger like a gun at me. I complained about the Drs threat, which fell on George Floyds
funeral, and nothing was done. There was also an Incident In 2019, In which my Indian
Supervisor, Bankim Parekh elbowed me In the stomach which was reported but nothing was
done by upper management. From about June and until I was terminated In March 2021, I
was treated differently because of my race (Black) and national origin (African - American)
when not given overtime like other workers. Including Nascio (Dominican) and Mr. Singh
(who shares my supervisors ethnicity). I complained about overtime and continued to
complain about the Drs threat along with other events of discrimination. I did good deeds,
such that I was placed on my former employers twitter site, as a model employee, yet 1 was
terminated for no good reason. I was not asked to come In early two hours to cover Arllerda
PIchardo (Hispanic). As an example. In January 2021 George ?(Hispanic) crashed a ladys car
and Is still employed, while I was let go for asking for ask for a copy of a video. In February
2021, Wlllare Armstrong (Black)struck a pedestrian running them over and he was not
terminated. Other employees had accidents and did other things which did not result In
their suspension, or termination while I was treated much less favorably than them because
 of my ethnicity and race. When I asked for a copy of the video footage of the dr. threatening
 me, 1 was wrongfully suspended on March 19, 2021 pending an Investigation. Later, I was
 wrongfully terminated on March 29, 2021, In retaliation for advocating for my discrimination
 rights as described above, all In violation of Title VII of the Civil Rights Act of 1964, as
 amended.




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                         2021 03:33 PM EOT                                         {month, day. yeai)
